     Case 1:20-cv-00200-JSR Document 37 Filed 04/20/20 Page 1 of 13



                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK

CARNEGIE INSTITUTION OF
WASHINGTON and M7D CORPORATION        Case No. 1:20-cv-00200-JSR

     Plaintiffs,                      Hon. Jed S. Rakoff

     v.

FENIX DIAMONDS LLC,

     Defendant.



   REPLY MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT FENIX
DIAMONDS LLC’S MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(B)(6)



                                   Daniel P. Waxman (DW-0599)
                                   dpwaxman@bryancave.com
                                   BRYAN CAVE LEIGHTON PAISNER LLP
                                   1290 Avenue of the Americas
                                   New York, NY 10104
                                   Tel: (212) 541-2040

                                   Steven H. Sklar (Pro Hac Vice)
                                   Maxwell B. Snow (Pro Hac Vice)
                                   ssklar@leydig.com
                                   msnow@leydig.com
                                   LEYDIG, VOIT & MAYER, LTD.
                                   180 North Stetson Avenue, Suite 4900
                                   Chicago, Illinois 60601
                                   Tel: (312) 616-5600

                                   Attorneys for Defendant, Fenix Diamonds LLC
            Case 1:20-cv-00200-JSR Document 37 Filed 04/20/20 Page 2 of 13



                                                 TABLE OF CONTENTS

TABLE OF AUTHORITIES .......................................................................................................... ii

I.        INTRODUCTION .............................................................................................................. 1

II.       ARGUMENT ...................................................................................................................... 1

          A.        The Direct Infringement Claims Should Be Dismissed .......................................... 1

          B.        The Indirect Infringement Claims Should Be Dismissed ....................................... 5

          C.        The Willful Infringement Claims Should Be Dismissed ........................................ 7

          D.        Dismissal of the Amended Complaint is Appropriate ............................................ 8

III.      CONCLUSION ................................................................................................................... 9




                                                                    i
             Case 1:20-cv-00200-JSR Document 37 Filed 04/20/20 Page 3 of 13



                                               TABLE OF AUTHORITIES

                                                                 Cases

3D Sys., Inc. v. Formlabs, Inc.,
  No. 13 CIV. 7973, 2014 WL 1904365 (S.D.N.Y. May 12, 2014)......................................... 5, 6
Aristocrat Techs. Australia Pty Ltd. v. Int'l Game Tech.,
  709 F.3d 1348 (Fed. Cir. 2013) .................................................................................................. 2
Artrip v. Ball Corp.,
  735 F. App’x 708 (Fed. Cir. 2018) ......................................................................................... 3, 4
Bell Atl. Corp. v. Twombly,
  550 U.S. 544 (2007) ................................................................................................................ 1, 4
Carson Optical Inc. v. eBay Inc.,
  202 F. Supp. 3d 247 (E.D.N.Y. 2016) .................................................................................... 5, 6
Dynacore Holdings Corp. v. U.S. Philips Corp.,
  363 F.3d 1263 (Fed. Cir. 2004) .................................................................................................. 5
Gradient Enters., Inc. v. Skype Techs., S.A.,
  848 F. Supp. 2d 404 (W.D.N.Y. 2012) ....................................................................................... 7
Holotouch, Inc. v. Microsoft Corp.,
  No. 17 CIV. 8717 (AKH), 2018 WL 2290701 (S.D.N.Y. May 18, 2018) ................................. 4
IOENGINE, LLC v. PayPal Holdings, Inc.,
  No. 18-452-WCB 18-826-WCB, 2019 WL 330515 (D. Del. Jan. 25, 2019) ............................. 8
K-Tech Telecomms., Inc. v. Time Warner Cable, Inc.,
  714 F.3d 1277 (Fed. Cir. 2013) .................................................................................................. 4
L.M. Sessler Excavating & Wrecking, Inc. v. Bette & Cring, LLC,
  No. 16-CV-06534-FPG, 2017 WL 4652709 (W.D.N.Y. Oct. 17, 2017).................................... 3
LaserDynamics USA, LLC v. Cinram Grp., Inc.,
  No. 15 CIV. 1629 (RWS), 2015 WL 6657258 (S.D.N.Y. Oct. 30, 2015) .................................. 6
Lifetime Indus., Inc. v. Trim-Lok, Inc.,
   869 F.3d 1372 (Fed. Cir. 2017) .................................................................................................. 4
Lyda v. FremantleMedia N.A., Inc.,
  No. 10 Civ 4773 (DAB), 2011 WL 2898313 (S.D.N.Y. July 14, 2011) .................................... 4
Macronix Int’l Co. v. Spansion Inc.,
 4 F. Supp. 3d 797 (E.D. Va. 2014) ............................................................................................. 3
N. Star Innovations, Inc. v. Micron Tech., Inc.,
  C.A. No. 17-506-LPS-CJB, 2017 WL 5501489 (D. Del. Nov. 16, 2017) .................................. 3
Novartis Vaccines & Diagnostics, Inc. v. Regeneron Pharms., Inc.,
  Case No. 18-cv-2434 (DLC), 2018 WL 5282887 (Oct. 14, 2018) ............................................. 7




                                                                    ii
             Case 1:20-cv-00200-JSR Document 37 Filed 04/20/20 Page 4 of 13



Signify N. Am. Corp. v. Axis Lighting Inc.,
  No. 19-cv-5516 (DLC), 2020 WL 1048927 (S.D.N.Y. Mar. 4, 2020) ....................................... 8
Välinge Innovation AB v. Halstead New England Corp.,
  No. CV 16-1082-LPS-CJB, 2018 WL 2411218 (D. Del. May 29, 2018) .................................. 7

                                                                  Statutes

35 U.S.C. § 271 ............................................................................................................................... 2

                                                                    Rules

Fed. R. Civ. P. 12(b)(6)................................................................................................................... 3




                                                                       iii
         Case 1:20-cv-00200-JSR Document 37 Filed 04/20/20 Page 5 of 13



I.     INTRODUCTION

       A lawsuit may proceed only if the facts as alleged in the complaint “raise a right to relief

above the speculative level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). In this case,

Plaintiffs Carnegie Institution of Washington and M7D Corporation (“Plaintiffs”) fail to plead

facts sufficient to support a plausible claim that Defendant Fenix Diamonds LLC (“Fenix”) has

infringed the patents-in-suit.1 They allege that Fenix makes and sells “CVD diamonds,” but that

alone is not sufficient to justify speculation that Fenix somehow directly infringes the asserted

patents, which require the manufacture of CVD diamonds at specific temperature gradients,

temperatures and pressures.

       Plaintiffs’ indirect infringement and willfulness claims are even worse: they pile

speculation upon the already speculative claims of direct infringement. The entire Amended

Complaint lacks any factual basis to proceed, and it should be dismissed.

II.    ARGUMENT

       A.      The Direct Infringement Claims Should Be Dismissed

       Plaintiffs have charged Fenix with infringement because it allegedly makes and sells CVD

diamonds.2 However, prior to the patents-in-suit, CVD diamonds had been produced “[f]or at least



1
 The patents-in-suit are U.S. Patent No. 6,858,078 (“the ’078 Patent”) and U.S. Reissue Patent
No. 41,189 (“the ’189 Patent”).
2
  Although beyond the scope of this motion, Plaintiffs’ allegation that “Fenix manufactures and
anneals diamonds” is false. See Plaintiffs’ Memorandum of Law in Opposition to Defendants’
Motion to Dismiss, Dkt. 33 (“Pls. Opp’n”) at 1. Fenix is an importer and reseller of CVD diamonds,
not a manufacturer. The website (https://fenixdiamonds.com/about) to which Plaintiffs refer in
their Amended Complaint (Dkt. 16 (“Am. Compl.”) at ¶ 52 n.13) and in their Opposition (Pls.
Opp’n at 1) describes a generic process by which CVD diamonds are made. This website does not
state that Fenix makes diamonds. Apparently recognizing this possibility, the Amended Complaint
charges Fenix “and/or its supplier(s)” with the allegedly infringing activities. Am. Compl. at ¶¶
57, 65–67, 71 (emphasis added). Had Plaintiffs simply asked Fenix prior to filing this lawsuit,
Fenix would have so informed Plaintiffs.
                                                1
         Case 1:20-cv-00200-JSR Document 37 Filed 04/20/20 Page 6 of 13



the last twenty years.” ’078 Patent at 1:30–33. Microwave plasma CVD (i.e., the type of CVD

recited in the claims) was also well known in the art prior to both patents. See id. at 1:42–49. It is

therefore indisputably possible to produce CVD diamonds in a way that does not infringe the ’078

patent. In addition, the ’189 Patent acknowledges that prior art synthetic (e.g., CVD) diamonds

were annealed at temperatures and pressures to “cause[] the visible color of the diamond to

change.” ’189 Patent at 1:33–38. Again, it is undeniably possible to produce CVD diamonds by

non-infringing methods.

       Without more, the mere sale of CVD diamonds cannot be a sufficient factual basis to

embroil Fenix in a costly and disruptive infringement suit. 3 As recently detailed in the now-

complete Markman briefs, the asserted claims recite specific processes for making or improving

CVD diamonds. With respect to the ’078 Patent, the asserted claims require that “all temperature

gradients” be controlled to less than 20º C, and further that high temperatures (900–1400º C) and

pressures (at least 130 torr) must be used make CVD diamonds. See Defendant Fenix Diamonds

LLC’s Opening Claim Construction Brief, Dkt. 32 at 4–9 (temperature gradients), 16–19

(temperatures and pressures). With respect to the ’189 Patent, the asserted claims require the CVD

diamond to be raised to a set temperature and pressure of at least 1500º C and 4GPa while

remaining “outside of the diamond stable phase.” See id. at 22. Processes that do not meet these

narrow conditions do not infringe the asserted claims of either the ’189 Patent or ’078 Patent.

Aristocrat Techs. Australia Pty Ltd. v. Int'l Game Tech., 709 F.3d 1348, 1362 (Fed. Cir. 2013)




3
  The allegation that Fenix sells diamonds made by a CVD manufacturing process generally, see
Am. Compl. at ¶¶ 57, 65–67, 71, is not sufficient in view of the specific limitations in the asserted
claims of the patents-in-suit. CVD processes are acknowledged to be in the prior art. See ’078
Patent at 1:30–51; ’189 Patent at 1:10–21.
                                                  2
         Case 1:20-cv-00200-JSR Document 37 Filed 04/20/20 Page 7 of 13



(“To establish liability for direct infringement of a claimed method or process under 35 U.S.C. §

271(a), a patentee must prove that each and every step of the method or process was performed.”).

       Plaintiffs’ Amended Complaint is fatally defective because it lacks any factual allegations

to support a plausible conclusion that Fenix’s diamonds are made according to any of the claimed

processes. See Artrip v. Ball Corp., 735 F. App’x 708, 714–15 (Fed. Cir. 2018). In particular, there

are no plausible factual allegations at least with respect to the limitation “all temperature gradients

across the growth surface are less than 20° C.” in claims 1 and 12 of the ’078 Patent and the

limitation “outside of the diamond stable phase” in claim 1 of the ’189 Patent. Instead, Plaintiffs

merely state the conclusion of infringement itself, which is inadequate to survive a Rule 12(b)(6)

motion to dismiss. See L.M. Sessler Excavating & Wrecking, Inc. v. Bette & Cring, LLC, No. 16-

CV-06534-FPG, 2017 WL 4652709, at *4 (W.D.N.Y. Oct. 17, 2017) (“By describing Defendant's

conduct solely in the words of its own patent, Plaintiff implicitly concludes that Defendant's

process necessarily meets every element of the patent claim—a legal determination, not a factual

allegation.”) (emphasis added); see also N. Star Innovations, Inc. v. Micron Tech., Inc., C.A. No.

17-506-LPS-CJB, 2017 WL 5501489 (D. Del. Nov. 16, 2017); Macronix Int’l Co. v. Spansion

Inc., 4 F. Supp. 3d 797 (E.D. Va. 2014).

       Plaintiffs attempt to distinguish these cases by stating that they have alleged more with

respect to Fenix’s alleged processes. Pls. Opp’n at 9–10. Not so. The only allegations with respect

to these elements (i.e., the temperature and pressure conditions that allegedly distinguish the claims

from the prior art) merely repeat the claim language to assert, in circular fashion, that Fenix meets

them. See Am. Compl. at ¶¶ 55–56, 65–67, 88–89. This is precisely the manner of pleading that

has been found to be insufficient in the above-cited cases. Plaintiffs also attempt to rely on

Holotouch, Inc. v. Microsoft Corp., No. 17 CIV. 8717 (AKH), 2018 WL 2290701 (S.D.N.Y. May



                                                  3
         Case 1:20-cv-00200-JSR Document 37 Filed 04/20/20 Page 8 of 13



18, 2018) (Hellerstein, J.), but, as explained in Fenix’s opening brief, the complaint in that case

included great detail as to the accused instrumentality. Memorandum of Law In Support Motion

to Dismiss, Dkt. 26 at 8–9. If the complaint in that case had only the same type of allegations as

here, it may well have been dismissed.

        Other cases upon which Plaintiffs’ rely, such as K-Tech Telecomms., Inc. v. Time Warner

Cable, Inc., 714 F.3d 1277, 1287 (Fed. Cir. 2013), were decided under the abrogated Form 18

pleading standard. See Lifetime Indus., Inc. v. Trim-Lok, Inc., 869 F.3d 1372, 1377 (Fed. Cir.

2017) (“However, Form 18 was abrogated by the Supreme Court effective December 1, 2015.”)

Under the Twombly/Iqbal pleading standard, which now indisputably applies to patent cases

instead of the Form 18 pleading standard, courts “have required plaintiffs to make specific

allegations about infringing products or methods in their complaints.” Lyda v. FremantleMedia

N.A., Inc., No. 10 Civ 4773 (DAB), 2011 WL 2898313, at *2 (S.D.N.Y. July 14, 2011); see also

Artrip, 735 F. App’x at 714–15.

       Undaunted, Plaintiffs argue nonetheless that the Court should excuse their defective

pleading because they do not have the required information.4 Plaintiffs argue that they do not know

the actual methods used to make Fenix’s CVD diamonds, and further that they will rely upon

discovery to develop the bases for their lawsuit. Pls. Opp’n at 8; see also id. at 7 (“Plaintiffs have

not yet been allowed to inspect the fabrication plants Fenix uses, review documents detailing the

processes they use, and depose the relevant personnel.”). Plaintiffs thus all but admit that they

cannot state, and therefore have not stated, a plausible patent infringement claim. They lack




4
  Plaintiffs never contacted Fenix or its supplier to inquire about the processes at issue before filing
suit. Had they done so, Fenix would have notified Plaintiffs, as they did after the suit was filed,
that the processes used to make the CVD diamonds sold by Fenix do not fall within the limitations
required by the claims.
                                                   4
         Case 1:20-cv-00200-JSR Document 37 Filed 04/20/20 Page 9 of 13



sufficient information to adequately plead about the processes they have already alleged to infringe

the asserted patents.

       By filing the present lawsuit without investigating the facts, whether inculpatory or

exculpatory, Plaintiffs put the cart before the horse. They rushed to file a deficient complaint before

knowing whether they could ever plead a successful claim. The Court, however, should not allow

a “shoot first, ask questions later” approach to pleadings. The Amended Complaint should be

dismissed.

       B.      The Indirect Infringement Claims Should Be Dismissed

       Plaintiffs contend that they adequately pleaded indirect infringement against Fenix because

they identified “retailers, jewelry stores, and other customers” as direct infringers. Pls. Opp’n at

11. None of the allegations with respect to these categories of third parties, however, plausibly

state how any of them practice the claimed methods for making or processing diamonds. For the

same reasons that Plaintiffs failed to adequately allege direct infringement by Fenix, they also

failed to adequately allege direct infringement by any of the unnamed third parties. The indirect

infringement claim should be dismissed for failure to adequately plead direct infringement. See

Dynacore Holdings Corp. v. U.S. Philips Corp., 363 F.3d 1263, 1272 (Fed. Cir. 2004) (“Indirect

infringement, whether inducement to infringe or contributory infringement, can only arise in the

presence of direct infringement” by a third party).

       In addition, the indirect infringement claims fail to adequately or plausibly plead that Fenix

intended to induce infringement. Plaintiffs rely upon Carson Optical Inc. v. eBay Inc., 202 F. Supp.

3d 247, 253 (E.D.N.Y. 2016) and 3D Sys., Inc. v. Formlabs, Inc., No. 13 CIV. 7973, 2014 WL

1904365, at *4 (S.D.N.Y. May 12, 2014) to argue that their filing of the complaint was sufficient

to meet the intent requirement. See Pls. Opp’n at 11–12. But neither of these cases goes as far as



                                                  5
        Case 1:20-cv-00200-JSR Document 37 Filed 04/20/20 Page 10 of 13



Plaintiffs contend. Merely filing a complaint is not sufficient to support a case for indirect

infringement.

       In LaserDynamics USA, LLC v. Cinram Grp., Inc., No. 15 CIV. 1629 (RWS), 2015 WL

6657258, at *6 (S.D.N.Y. Oct. 30, 2015), this Court relied upon 3D Sys to hold that “[b]oth

knowledge of the alleged infringement and specific intent involving ‘culpable conduct, directed to

encouraging another's infringement’ are therefore required.” The LaserDynamics court thus

dismissed an inducement charge because the complaint lacked sufficient facts in support of a claim

that the defendants “were aware of a plausibly high risk of infringement.” Id.

       Plaintiffs argue nonetheless that they have adequately alleged a “willful blindness” theory

of intent, but that theory also requires sufficient factual allegations. Here, Plaintiffs’ rely on

paragraphs such as 11–14, 58, 60, 72–74 and 93–95 of their Amended Complaint, see Pls. Opp’n

at 12, but each of those allegations recite only ordinary marketing and sales activities. In dismissing

a similar indirect infringement claim, the LaserDynamics Court held that such facts “do not support

the theory that Defendants specifically intended to induce infringement in the normal course of

operating their business any more than they support the theory that Defendants were lawfully

soliciting customers to use their services to keep Defendants’ businesses afloat.” LaserDynamics,

2015 WL 6657258, at *6.

       The Carson Optical case is also distinguishable on this basis. There, the plaintiff’s

complaint provided “highly detailed descriptions and depictions of the patents-in-suit and also the

allegedly infringing items” as well as alleging that defendant, “despite receiving notice of the

alleged infringement, . . . nevertheless continued to sell infringing items.” Carson Optical, 202 F.

Supp. 3d at 262 . No such allegations are present here. Plaintiffs admit that they are unaware of

the processes used to make the diamonds sold by Fenix. They only speculate that such processes



                                                  6
        Case 1:20-cv-00200-JSR Document 37 Filed 04/20/20 Page 11 of 13



might infringe the asserted patents. This is a far cry from alleging that Fenix knowingly engaged

in activities that it knew would infringe the asserted patents. The indirect infringement claim

should be dismissed.

       C.      The Willful Infringement Claims Should Be Dismissed

       Plaintiffs’ allegations of willful infringement similarly fail to satisfy the required pleading

standards and should be dismissed.

       Contrary to Plaintiffs’ contention (Pls. Opp’n at 14), this district has indeed adopted the

“egregiousness” standard for pleading willfulness (i.e., the accused infringer’s conduct must be of

such a wrongful nature to be beyond typical infringement). See Novartis Vaccines & Diagnostics,

Inc. v. Regeneron Pharms., Inc., Case No. 18-cv-2434 (DLC), 2018 WL 5282887, at *2 (Oct. 14,

2018). Plaintiffs do not even attempt to defend the sufficiency of their willfulness allegations under

such an “egregiousness” standard. Furthermore, there can be no claim for willful infringement in

the absence of a plausible claim of direct infringement by Plaintiffs, which, as detailed above, is

lacking here due to the absence of allegations regarding temperature gradients, temperatures and

pressures. See Gradient Enters., Inc. v. Skype Techs., S.A., 848 F. Supp. 2d 404, 408 (W.D.N.Y.

2012). Plaintiffs’ citation (Pls. Opp’n at 14) to portions of the Amended Complaint that do not

identify manufacturing conditions for Fenix’s diamonds necessary to state a plausible claim of

direct infringement cannot possibly support a claim of willful infringement.

       Additionally, even if the complaint makes out a plausible claim of direct or indirect

infringement (which it does not), Plaintiffs’ allegations with respect to willfulness are still

insufficient at least with respect to Fenix’s pre-suit conduct. As recognized in a case relied on by

Plaintiffs, the allegedly infringing conduct must occur after the accused acquires knowledge of the

relevant patents for willfulness to exist. Välinge Innovation AB v. Halstead New England Corp.,

No. CV 16-1082-LPS-CJB, 2018 WL 2411218, at *13 (D. Del. May 29, 2018). In other words,
                                                  7
         Case 1:20-cv-00200-JSR Document 37 Filed 04/20/20 Page 12 of 13



knowledge of the patents must be possessed by the alleged infringer before infringement. Nowhere

in the Amended Complaint including, in particular, at paragraphs 19–20 cited by Plaintiffs, is

Fenix alleged to have infringed the patents-in-suit after having obtained knowledge of the patents-

in-suit. Plaintiffs’ assertion that the “existence of these patents was well-known in the lab-grown

diamond industry” is not sufficient.5 Pls. Opp’n at 14.

       Plaintiffs’ reliance on the knowledge of the patents-in-suit by Fenix resulting from service

of the original complaint is unavailing. In another case cited by Plaintiffs, IOENGINE, LLC v.

PayPal Holdings, Inc., No. 18-452-WCB, 18-826-WCB, 2019 WL 330515 (D. Del. Jan. 25, 2019),

the Court dismissed allegations of willfulness for pre-suit conduct where the patent owner did not

allege that the defendant had knowledge of the patents prior to the lawsuit. Id. at *7. Here, Plaintiffs

have not alleged that Fenix had knowledge of patents-in-suit at the time any of the pre-suit

activities were carried out (such as those identified in paragraphs 52–59, 63–71, and 84–92 of the

Amended Complaint).6 Accordingly, Plaintiffs’ allegations of pre-suit willful infringement are not

plausible and should be dismissed.

       D.      Dismissal of the Amended Complaint is Appropriate

       All of the allegations of infringement – direct, induced and willful – recited in all counts

(Counts I and II) in the Amended Complaint are insufficient. Accordingly, the Amended

Complaint should be dismissed in its entirety.



5
  Neither paragraph 97, nor paragraph 102 of the Amended Complaint identify the knowledge of
the patents-in-suit by the lab-grown diamond industry as Plaintiffs contend.
6
  Plaintiffs go so far as to suggest willfulness can exist even where Fenix did not have knowledge
of the patents-in-suit as a result of Fenix’s “willful blindness.” Pls. Opp’n at 14; see Am. Compl.
at ¶¶ 79, 102. Following Plaintiffs’ logic, the absence of knowledge would somehow satisfy the
requirement of knowledge to establish willfulness. But knowledge of the patents-in-suit is a
requirement. Signify N. Am. Corp. v. Axis Lighting Inc., No. 19-cv-5516 (DLC), 2020 WL
1048927, at *3 (S.D.N.Y. Mar. 4, 2020).
                                                   8
        Case 1:20-cv-00200-JSR Document 37 Filed 04/20/20 Page 13 of 13



       Plaintiffs contend that they should be given the right to file a Second Amended Complaint

to cure any pleading deficiencies. In contrast to this action, however, the cases relied as support

for the grant of leave to amend (Pls. Opp’n at 15 n.3) all involve deficiencies in a portion, not the

entirety, of the patentees’ complaint. After learning of Fenix’s allegations regarding the

insufficiency of its pleadings in this motion (filed on March 30th), Plaintiffs had the opportunity to

file a further amended pleading by April 3rd without leave of Court. See Order dated March 6,

2020, Dkt. 18 (adopting Civil Case Management Plan, Dkt. 26 in 20-cv-189 (JSR)) at 1. Plaintiffs

did not take such action. Accordingly, dismissal of the Amended Complaint is therefore the

appropriate remedy.

III.   CONCLUSION

       For the foregoing reasons, Fenix respectfully requests that the Court dismiss the Amended

Complaint in its entirety.



  Dated: April 20, 2020                                Respectfully submitted,

                                                       /s/ Steven H. Sklar
                                                       Daniel P. Waxman (DW-0599)
                                                       BRYAN CAVE LEIGHTON PAISNER LLP
                                                       1290 Avenue of the Americas
                                                       New York, NY 10104
                                                       Tel.: (212) 541-2040
                                                       dpwaxman@bryancave.com

                                                       Steven H. Sklar (pro hac vice)
                                                       Maxwell B. Snow (pro hac vice)
                                                       LEYDIG, VOIT & MAYER, LTD.
                                                       180 North Stetson Avenue, Suite 4900
                                                       Chicago, Illinois 60601
                                                       Tel.: 312.616.5600
                                                       ssklar@leydig.com
                                                       msnow@leydig.com

                                                       Counsel for Defendant, Fenix Diamonds LLC


                                                  9
